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 7
 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                                WESTERN DIVISION
11 BASTIAT USA, INC. dba BRANDY                Case No. 2:25-cv-5701
   MELVILLE,
12                                             COMPLAINT FOR:
             Plaintiff,
13
         vs.                                   (1) COPYRIGHT
14                                                 INFRINGEMENT [17 U.S.C.
   SHEIN DISTRIBUTION CORP.,                       §§101, et seq.];
15 ROADGET BUSINESS PTE., LTD.,
   SHEIN TECHNOLOGY LLC, SHEIN
16 US SERVICES, LLC, AND DOES                  (2) FALSE DESIGNATION OF
   1-10,                                           ORIGIN [15 U.S.C. §1125];
17
             Defendants.
18                                             (3) COMMON LAW UNFAIR
19                                                 COMPETITION;

20                                             (4) CONTRIBUTORY
21                                                 COPYRIGHT
                                                   INFRINGEMENT;
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23                                             (5) VICARIOUS COPYRIGHT
                                                   INFRINGEMENT.
24
                                               DEMAND FOR JURY TRIAL
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                                        COMPLAINT
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 1             Plaintiff Bastiat USA, Inc. dba Brandy Melville, as and for its complaint
 2 against defendants Shein Distribution Corp., Roadget Business Pte., Ltd., Shein
 3 Technology LLC, Shein US Services, LLC and Does 1-10, alleges as follows:
 4                                       INTRODUCTION
 5             1.    Shein claims that it has become one of the world’s most successful
 6 online shopping sites “by designing products that consumers love and can afford,
 7 and by selling these products on an efficient and consumer-friendly website and
 8 mobile application.”1 When it comes to product design, Shein claims that it uses a
 9 “data-driven approach” and an “on-demand production model.”2 This, according to
10 Shein, enables it “to quickly identify emerging trends and provide offerings that
11 resonate immediately with its customer base . . . .”3
12             2.    What Shein really means by “data-driven approach” and providing
13 “offerings that resonate immediately” is that it finds popular designs from popular
14 designers and slavishly copies them, without regard to minor impediments such as
15 intellectual property laws. Indeed, with billions in revenue pouring in each year, IP
16 theft is simply a cost of doing business for Shein.
17             3.    This case exhibits however the extents to which Shein will go to trade
18 off the goodwill of an especially popular and authentic brand.
19             4.    Brandy Melville is one of the most coveted authentic brands worldwide
20 in the young women’s fashion and lifestyle categories. Unlike Shein, Brandy
21 Melville markets and sells interesting and innovative original product designs via
22 unique, recognizable branding.
23             5.    In light of Brandy Melville’s worldwide popularity, Shein went to
24 extraordinary measures to trade off Brandy Melville’s goodwill with its customers.
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          Roadget Business Pte. Ltd. v. PDD Holdings Inc., et al., U.S. District Court
26 for the District of Columbia, Dkt. 1 at ¶1.
27 2      Id. at ¶2.
28   3
               Id.

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 1 Shein did not simply copy a single design. Shein did not just copy multiple product
 2 designs. Instead, Shein copied multiple Brandy Melville product designs and then
 3 displayed authentic Brandy Melville products and photographs on the Shein
 4 website.
 5             6.     In other words, when a customer saw an original Brandy Melville
 6 product and photograph on the Shein website and placed an order, the customer did
 7 not receive the authentic Brandy Melville good depicted. Instead, the customer
 8 received a cheaper, lower-quality Shein knockoff – i.e., a bait-and-switch.
 9             7.     Below are examples of photographs from the Brandy Melville website
10 and/or social media and the same (or slightly modified) versions of the same
11 photographs from the Shein website.
12                  BRANDY MELVILLE                               SHEIN
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 1             8.    Brandy Melville (via the U.S.-based corporate entity that owns the IP at
 2 issue) brings this case to stop Shein’s deliberate, systematic IP theft and to be
 3 remedied for the extensive and damaging past infringement.
 4                                            PARTIES
 5             9.    Plaintiff Bastiat USA, Inc. (“Plaintiff” or “Bastiat”) is a corporation
 6 organized and existing under the laws of the State of Nevada, with its principal
 7 place of business in New Jersey. Plaintiff is the assignee of the copyrights and other
 8 intellectual property at issue herein.
 9             10.   Bastiat is informed and believes, and on that basis alleges, that
10 defendant Shein Distribution Corp. (“Shein Distribution”) is a corporation organized
11 and existing under the laws of the State of Delaware, with its principal place of
12 business in this County, and is registered to do business and does business within
13 the State of California. Shein Distribution is a United States operating company of a
14 China-based global conglomerate that conducts substantial business in the State of
15 California, within this County, and throughout the United States.
16             11.   Bastiat is informed and believes, and on that basis alleges, that
17 defendant Roadget Business Pte., Ltd. (“Roadget”), individually and doing business
18 as “Shein”, is a private limited liability company organized and existing under the
19 laws of Singapore with its principal place of business located in Singapore, and is
20 doing business within the State of California. Roadget owns the website
21 us.shein.com and the corresponding mobile application. Among other things,
22 Roadget has the responsibility for developing new products for sale in the United
23 States, including by identifying consumer trends and designing products sold in the
24 United States.
25             12.   Bastiat is informed and believes, and on that basis alleges, that
26 defendant Shein Technology LLC (“Shein Technology”) is a limited liability
27 company organized and existing under the laws of Delaware, with its principal place
28 of business in this County, and is registered to do business and does business within

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 1 the State of California. Among other things, Shein Technology identifies itself as a
 2 U.S. technology company that supports Shein Distribution’s sale of Shein products
 3 in the United States.
 4             13.   Bastiat is informed and believes, and on that basis alleges, that
 5 Defendant Shein US Services, LLC (“Shien US”) is a limited liability company
 6 organized and existing under the laws of Delaware, with its principal place of
 7 business in this County. Shein US identifies itself as a services provider that
 8 supports Shein Distribution’s sale of Shein products in the United States.
 9             14.   Together, Shein Distribution, Roadget, Shein Technology, and Shein
10 US are referred to as “Shein.”
11             15.   Bastiat is unaware of the true names and capacities of defendants
12 named herein as Does 1 through 10, inclusive, but is informed and believes, and on
13 that basis alleges, that each of the fictitiously named defendants engaged in, or is in
14 some manner responsible for, the wrongful conduct alleged herein. Bastiat therefore
15 sues these defendants by such fictitious names and will amend this complaint to
16 state their true names and capacities when such names have been discovered. Shein
17 and the Does are collectively referred to as “Defendants.”
18                                JURISDICTION AND VENUE
19             16.   This Court has original jurisdiction of this action under 28 U.S.C.
20 sections 1331 and 1338 in that the claims herein arise under federal copyright laws,
21 17 U.S.C. §101 et seq.
22             17.   Venue in this district is proper under 28 U.S.C. section 1391 because
23 Shein is subject to personal jurisdiction here and Bastiat has suffered injury here.
24             18.   This Court has personal jurisdiction over Shein. Shein has offices in
25 this County and regularly markets and sells goods, including the goods in this case,
26 to customers in California and specifically this County, through its website,
27 https://us.shein.com/ and through its applications which are available on the App
28 Store and Google Play. On information and belief, Shein also regularly has pop-up

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 1 stores to sell its merchandise within California and this County.4
 2                                 GENERAL ALLEGATIONS
 3             A.    The Brandy Melville Brand Is One of the Most Popular Girls and
 4                   Women’s Fashion and Lifestyle Brands in the World
 5             19.   The Brandy Melville brand (the “Brand” or “Brandy Melville”) is one
 6 of the most popular worldwide fashion and lifestyle brands for girls and young
 7 women. Founded in Europe over 30 years ago, the Brand, via its U.S.-based
 8 licensees, established a retail presence in Los Angeles starting in 2009 and has since
 9 expanded across the United States. Although Brandy Melville markets and sells to
10 consumers of all ages, it has developed a particularly strong following amongst girls
11 and women in the 15- to 25-year-old age range.
12             20.   The Brand is marketed and sold online, as well as in more than a dozen
13 retail stores in California, dozens more across the rest of the country, and dozens
14 more outside of the United States.
15             21.   Tens of millions of consumers, if not more, have shopped at one or
16 more of the United States-based retail stores or the on-line store selling Brandy
17 Melville’s merchandise in the U.S., https://us.brandymelville.com/ (the “On-Line
18 Store”).
19             22.   The Brand is regularly featured in leading national fashion and lifestyle
20 print publications such as Cosmopolitan, Elle, Vogue, and Seventeen, and general
21 print publications such as the Los Angeles Times, the Village Voice, the Boston
22 Globe, and independent and college newspapers. It is also regularly featured on
23 television and on third-party websites, blogs, and TikToks.
24             23.   The Brand promotes itself online, including on the On-Line Store,
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          See https://www.averagesocialite.com/la-events/2025/3/28/shein-pop-up-
   store-la and
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   https://m.shein.com/us/campaigns/santa_monica_pop?lang=asia&ref=m&rep=dir&r
28 et=mus

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 1 https://us.brandymelville.com/, and on social media, including Twitter, Instagram,
 2 and TikTok. The Brand’s Instagram page has over 3 million followers and the
 3 Brand’s TikTok account has over 123,000 followers.
 4             B.    Plaintiff Owns Valuable Intellectual Property
 5             24.   The Brand’s designs and photographs are valuable intellectual property.
 6 To help protect its intellectual property, the Brand – via the owner of its intellectual
 7 property and/or one or more of its licensees – has sought to obtain and/or obtained
 8 copyright registrations with the United States Copyright Office.
 9             25.   Bastiat – which provides management services for the many U.S.
10 licensees of the Brand – has been assigned the intellectual property rights at issue in
11 this action (along with all claims for infringement thereof) and used in connection
12 with the Brand’s fashion accessories.
13             26.   Among the aforementioned intellectual property is the “Eye” fabric
14 design (aka V270A) (the “Eye Fabric Design”), Copyright Registration No. VA 2-
15 384-496, registered with the Copyright Office effective December 18, 2023. A copy
16 of this copyright registration is attached hereto as Exhibit A and incorporated herein
17 by this reference.
18             27.   The copyrighted Eye Fabric Design has been used on multiple Brandy
19 Melville products such as boy short style underwear and tank tops that are sold,
20 inter alia, on the Brandy Melville On-Line store. The Eye Fabric Design is depicted
21 below:
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 1             28.   The Eye Fabric Design as used on Brandy Melville’s boy short style
 2 underwear is depicted below:
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18             29.   Another copyright owned by Bastiat is the photograph “Model with
19 Elena Top,” Copyright Registration VA-2-440-491, registered with the Copyright
20 Office effective April 4, 2025. A copy of this copyright registration is attached
21 hereto as Exhibit B and incorporated herein by this reference.
22             30.   The photograph “Model with Elena Top” was used in connection with
23 the Brand’s sale of merchandise on social media. The photograph is depicted
24 below:
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13             31.   Another copyright owned by Bastiat is the photograph “Model with
14 Chloe 14 Top,” Copyright Registration VA-2-442-898, registered with the
15 Copyright Office effective April 24, 2025. A copy of this copyright registration is
16 attached hereto as Exhibit C and incorporated herein by this reference.
17             32.   The photograph “Model with Chloe 14 Top” was used in connection
18 with the Brand’s sale of merchandise on the On-Line Store. The photograph is
19 depicted below:
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14             33.   Bastiat also owns the copyright for the photograph “Model with Erica
15 Boston Sweatshirt,” Copyright Registration VA-2-442-899, registered with the
16 Copyright Office effective April 24, 2025. A copy of this copyright registration is
17 attached hereto as Exhibit D and incorporated herein by this reference.
18             34.   The photograph “Model with Erica Boston Sweatshirt” was used in
19 connection with the Brand’s sale of merchandise on the On-Line Store. The
20 photograph is depicted below:
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15             35.   Lastly, Bastiat owns the copyright for the photograph “Model with
16 Robyn 16 Top,” Copyright Registration VA-2-442-901, registered with the
17 Copyright Office effective April 24, 2025. A copy of this copyright registration is
18 attached hereto as Exhibit E and incorporated herein by this reference.
19             36.   The photograph “Model with Robyn 16 Top” was used in connection
20 with the Brand’s sale of merchandise on the On-Line Store. The photograph is
21 depicted below:
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14             37.   The Eye Fabric Design and the photographs “Model with Elena Top,”
15 “Model with Chloe 14 Top,” “Model with Erica Boston Sweatshirt,” and “Model
16 with Robyn 16 Top.” are collectively referred to as the “Copyrights.”
17             38.   Brandy Melville’s fashion designs in the four copyrighted photographs,
18 as well as the Eye Fabric Design, are unique, original designs that consumers
19 recognize as originating from Brandy Melville.
20             39.   The Brand promotes and markets its unique and original products using
21 photographs on the On-Line Store and/or on social media. The photographs above
22 show the Brand’s iconic designs.5
23             40.   For more than 15 years, Brandy Melville branded merchandise has
24 been, and continues to be, extensively advertised and sold throughout the United
25 States. As a result of the Brand’s sales and advertising, in the minds of consumers,
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         Bastiat has been assigned all rights to bring this lawsuit based on these
28 product designs.

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 1 Plaintiff’s copyrights and unique designs have come to symbolize Brandy Melville.
 2 These intellectual property rights have thus become valuable assets.
 3             C.    Shein Deliberately Infringes Upon Plaintiff’s Intellectual Property
 4                   Rights
 5             41.   Shein is an e-commerce colossus which sells, among other things, fast
 6 fashion through its website and app (collectively, “Shein.com”). It serves customers
 7 in 150 plus countries, including the United States, with offices in the United States,
 8 including Los Angeles.6 Its website represents that the Shein application (the
 9 “App”) is “one of the most downloaded apps in the U.S. and in the world” and states
10 the App “is the primary way customers can explore all SHEIN has to offer.” 7 Shein
11 has a vast online presence – tens of millions of monthly active customers, over 250
12 million social media followers, and over 500 million App downloads. 8
13             42.   Shein caters to the same customer base as Brandy Melville through
14 social media. Its goal is to bring consumers internet designer trends at low prices
15 and at lightning speeds. One analyst has stated that “Shein only takes 14 days from
16 product design, printing, and listing, and only 7 days from production and delivery
17 to consumers after listing.” 9 To identify trends, it uses data available from the
18 internet and social media and then creates products. 10 Shein will produce small
19 initial batches of 100 to 200 items, evaluate customer feedback in real time, and the
20 restock on demand.11
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     6
23             https://www.sheingroup.com/about-us/shein-at-a-glance/
     7
               Id.
24
     8
               https://seller-us.shein.com/homepage
25
     9
         https://shanghai.bencham.org/news/enigma-shein-unraveling-success-
26 mysterious-online-retailer
27 10    Id.
28   11
               https://www.sheingroup.com/our-business/our-business-model/

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 1             43.   In doing so, Shein has a history of disregarding others’ intellectual
 2 property rights and generating exact copies of designers’ art and works that are
 3 trending on social media and the Internet. Indeed, Shein has faced lawsuits for
 4 blatantly copying copyrighted and trademarked works brought by such companies as
 5 Dr. Marten’s, Ralph Lauren, Victoria’s Secret, Uniqlo, and H&M, as well as
 6 independent artists. Shein has also faced lawsuits from its main competitor, Temu.
 7 Shein’s business model is based on its exploitation of others’ intellectual property
 8 rights to dominate the fast fashion industry. 12
 9             44.   In 2023, Shein officially launched a global “Shein Marketplace” that
10 includes third party sellers’ products alongside the Shein-branded products so other
11 brands and sellers can reach and profit from Shein’s vast customer base.13
12             45.   Shein facilities the marketing, advertising, processing, and shipping of
13 these third party sellers’ products. Shein touts the Marketplace to potential sellers as
14 an opportunity to “Bring your brand to the future of retail . . . Sell more, save more,
15 and reach millions of new fans.”14 It permits sellers to “[e]xperience SHEIN’S
16 accelerated growth incentives, such as no monthly fees and free marketing
17 opportunities”15 and helps develop and supports sellers with such services as
18 inventory and order management, customer service, seller education hubs,
19 professional onboarding, dedicated account managers, and advertising. 16 Shein
20 assures sellers, “We’re with you every step of the way.”17
21 / / /
22
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23         https://www.thewangiplaw.com/blog/2022/07/shein-faces-100-million-
     lawsuit-for-copyright-infringement/
24   13
               https://www.sheingroup.com/about-us/shein-at-a-glance/
25   14
               https://seller-us.shein.com/homepage
26   15
               Id.
27   16
               https://seller-us.shein.com/pricing-product-categories
28   17
               https://seller-us.shein.com/homepage

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 1             46.   Shein charges Marketplace sellers, after the first commission-free 30
 2 days, a fixed 10% of all sales.18
 3             47.   Just as Shein’s business model is based on, incorporates, and profits
 4 from copying others’ designs, the expansion of Shein’s Marketplace has had
 5 expected consequences – the Marketplace is littered with gray market goods. 19
 6             48.   Plaintiff is informed and believes, and on that basis alleges, that Shein,
 7 having recognized the consumer awareness and goodwill associated with the
 8 Copyrights and Brandy Melville fashion designs, conspired to usurp that goodwill
 9 for themselves by designing, manufacturing, marketing and/or selling, without the
10 permission or knowledge of Plaintiff, Bastiat’s Copyrights and imitations of
11 Plaintiff’s fashion.
12             49.   Plaintiff is informed and believes, and on that basis alleges, that Shein
13 is also advertising, marketing, creating, offering for sale, selling, distributing, and/or
14 profiting from counterfeit Brandy Melville products, whether from its own sale of
15 counterfeit products or from the sale of third party sellers of counterfeit Brandy
16 Melville products.
17             50.   Not content just to copy Brandy Melville designs, Shein and its third
18 party sellers in the Marketplace also markets the designs using the exact same
19 photographs and images as those that appear on the Brand’s website and social
20 media and are marketed to consumers.
21             51.   On information and belief, Defendants have advertised, manufactured
22 and/or distributed the infringing products to consumers. On information and belief,
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     18
24        https://restofworld.org/2023/china-shopping-shein-tiktok-shop-global-sellers/;
   https://feedonomics.com/blog/what-you-need-to-know-about-selling-on-shein-
25 marketplace/
26   19
         https://www.modernretail.co/technology/sheins-marketplace-is-littered-with-
   gray-market-products-from-top-brands-like-
27
   hoka/#:~:text=Shein's%20headway%20with%20brands,on%20Shein%20Marketpla
28 ce%2C%20Lau%20said.

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 1 the infringing products are marketed and sold at prices below those charged for
 2 Brandy Melville products.
 3             52.   Plaintiff is informed and believes, and on that basis alleges, that
 4 Defendants were at all times aware that they were using the exact same photographs
 5 as used by Brandy Melville to market their infringing products. Plaintiff is also
 6 informed and believes, and on that basis alleges, that Defendants knew that their
 7 products resemble the Brand’s products so closely that consumers are likely to be,
 8 and in fact have been, confused as to the source of the infringing products. Plaintiff
 9 is informed and believes, and on that basis alleges, that this resemblance is precisely
10 the reason why Defendants market and sell the infringing products.
11             53.   Plaintiff is informed and believes, and thereon alleges, that Defendants
12 have received a direct financial benefit from marketing and selling products
13 incorporating Bastiat’s Copyrights and designs, in an amount that is unknown to
14 Bastiat.
15             54.   Plaintiff is informed and believes, and thereon alleges, that Defendants’
16 marketing, sale, and distribution of the infringing products and use of its Copyrights
17 has caused the Brand to lose sales and profits.
18             55.   Defendants’ acts have caused, and will continue to cause, irreparable
19 harm and injury to Bastiat for which Bastiat has no adequate remedy at law.
20 Accordingly, Defendants should be enjoined and restrained from directly or
21 indirectly manufacturing, distributing, importing, exporting, advertising, offering for
22 sale, or selling any product that copies Bastiat’s intellectual property. Pursuant to
23 17 U.S.C. Section 502, Bastiat is therefore entitled to a preliminary and permanent
24 injunction against Defendants’ continuing acts of infringement. Bastiat is further
25 entitled to an order impounding and destroying all infringing product in Defendants’
26 possession, custody or control.
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 1                                FIRST CLAIM FOR RELIEF
 2                      (Against Defendants for Copyright Infringement)
 3             56.   Plaintiff re-alleges and incorporates herein by reference each and every
 4 allegation set forth above.
 5             57.   Plaintiff has complied in all respects with the copyright laws of the
 6 United States, 17 U.S.C. §101 et seq., and has secured the exclusive rights and
 7 privileges in and to the Copyrights.
 8             58.   Defendants had access to Bastiat’s Copyrights, as established by,
 9 among other things, the photograph “Model with Elena Top” posted to Brandy
10 Melville’s Instagram, the photographs “Model with Chloe 14 Top,” “Model with
11 Erica Boston Sweatshirt,” and “Model with Robyn 16 Top” posted on the On-Line
12 Store, the widespread availability of pictures of the Brand’s products incorporating
13 the Eye Fabric Design, the fact that Brandy Melville’s products are well known in
14 the industry and in the public, the fact that Brandy Melville’s products are sold in
15 thousands of retail stores throughout the country, and the fact that Defendants’
16 infringing products are strikingly similar in design to Bastiat’s Copyrights.
17             59.   Defendants infringed the Eye Fabric Design by incorporating, or
18 permitting others to incorporate, a substantially similar design into its products,
19 which are also substantially similar to the Brand’s product designs, which are
20 marketed and sold to consumers and/or retailers, without Bastiat’s permission.
21 Defendants infringed the four photograph Copyrights by using the photograph, or
22 permitting others to use the photograph on its site, without Bastiat’s permission.
23             60.   Defendants infringed the Copyrights willfully.
24             61.   Plaintiff is entitled to actual damages and Defendants’ profits,
25 whichever is higher, but in an amount no less than $1 million.
26             62.   Defendants’ acts have caused and will continue to cause irreparable
27 harm to Bastiat unless restrained by this Court. Plaintiff has no adequate remedy at
28 law. Accordingly, Plaintiff is entitled to an order enjoining and restraining

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 1 Defendants, during the pendency of this action and permanently thereafter, from
 2 manufacturing, distributing, importing, exporting, marketing, offering for sale or
 3 selling the infringing products.
 4                               SECOND CLAIM FOR RELIEF
 5         (Against Defendants for False Designation of Origin [15 U.S.C. §1125(a))
 6             63.   Plaintiff re-alleges and incorporates herein by reference each and every
 7 allegation set forth above.
 8             64.   Defendants falsely designated the origin of the designs, in violation of
 9 15 U.S.C. §1125(a), by incorporating, or permitting others to incorporate, pictures
10 of authentic Brandy Melville fashion designs on the Shein Website in order to
11 advertise and solicit sales of the designs.
12             65.   By using pictures of authentic Brandy Melville fashion designs on the
13 Shein Website, or by permitting others to use the pictures, Defendants falsely
14 represented that Brandy Melville’s authentic designs were Defendants’ own and that
15 a customer who placed an order for the good being depicted would receive the item
16 being depicted.
17             66.   Brandy Melville authentic fashion designs depicted on the Shein
18 Website were different from, and superior to, the goods Defendants were prepared
19 to deliver, and did actually deliver, to consumers.
20             67.   Plaintiff is informed and believes, and thereon alleges, that Defendants’
21 misuse of pictures of Bastiat’s authentic designs was intended to deceive and did in
22 fact deceive consumers who viewed Defendants’ Website and/or purchased
23 Defendants’ products.
24             68.   Plaintiff is informed and believes, and thereon alleges, that Defendants’
25 false designation of origin has harmed Brandy Melville, including by diluting the
26 Brand, harming the Brand’s reputation, and causing the Brand to lose sales and
27 customers.
28             69.   Plaintiff is informed and believes, and thereon alleges, that Defendants’

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 1 false designation of origin resulted in Defendants being unjustly enriched, including
 2 through sales of the designs, as well as through sales of Defendants’ other products
 3 being promoted alongside pictures of authentic Brandy Melville products.
 4             70.    Plaintiff is informed and believes, and thereon alleges, that Defendants’
 5 acts were committed with actual notice of Plaintiff’s (and/or its assignors’)
 6 exclusive rights and with an intent to cause confusion, to cause mistake, and/or to
 7 deceive, and to cause injury to the reputation and goodwill associated with Brandy
 8 Melville and its products. Pursuant to 15 U.S.C. §1117, Plaintiff is therefore
 9 entitled to recover three times its actual damages or three times Defendants’ profits,
10 whichever is greater, together with Plaintiff’s attorneys’ fees. In addition, pursuant
11 to 15 U.S.C. §1118, Plaintiff is entitled to an order requiring destruction of all
12 infringing products and promotional materials in Defendants’ possession.
13                                 THIRD CLAIM FOR RELIEF
14                   (Against Defendants for Common Law Unfair Competition)
15             71.    Plaintiff re-alleges and incorporates herein by reference each and every
16 allegation set forth above.
17             72.    Brandy Melville and Defendants are business competitors.
18             73.    By using, or permitting others to use, pictures of authentic Brandy
19 Melville fashion on their Website and App, which was likely to cause consumer
20 confusion, Defendants committed unfair competition under the common law of
21 California.
22             74.    Defendants’ acts alleged herein have caused Plaintiff to lose profits and
23 caused additional damage to the reputation and goodwill of the Brand. The precise
24 amount of Plaintiff’s damages is presently unknown but will be established
25 according to proof and is in excess of $1 million.
26             75.    Plaintiff is informed and believes, and thereon alleges, that as a direct
27 and proximate result of Defendants’ wrongful conduct as described above,
28 Defendants have gained revenue and profits.

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 1             76.   Plaintiff has no adequate remedy at law for the injury that will be
 2 caused by Defendants’ acts of unfair competition. Accordingly, Plaintiff is entitled
 3 to preliminary and permanent injunctions restraining Defendants, their officers,
 4 agents, and employees, and all persons acting in concert with them, from further
 5 engaging in acts of unfair competition against the Brand and its products.
 6             77.   Plaintiff is informed and believes, and thereon alleges, that Defendants
 7 committed the foregoing acts with the intention of depriving Plaintiff of its legal
 8 rights, with oppression, fraud, and/or malice, and in conscious disregard of
 9 Plaintiff’s (and/or its assignors’) rights. Plaintiff is, therefore, entitled to an award
10 of exemplary damages, according to proof.
11                              FOURTH CLAIM FOR RELIEF
12                            (Against Defendants for Contributory
13                        Copyright Infringement and Counterfeiting)
14             78.   Plaintiff re-alleges and incorporates herein by reference each and every
15 allegation set forth above.
16             79.   Defendants, and each of them, have been, and continues to be, aware of
17 and contributing to the infringement of the Copyrights on its site. The Copyrights
18 are prominently displayed and promoted on Defendants’ Website. Not only do
19 Defendants create and distribute the infringing goods to the end consumer but also,
20 in the case of the Marketplace sellers, facilitate the marketing and distribution of the
21 goods and the financial transactions.
22             80.   Alternatively, Defendants have remained willfully blind to the
23 infringement of the Copyright on its website and on the products it creates and
24 distributes to the end consumer.
25             81.   Plaintiff has been damaged by and Defendants have profited from
26 Defendants’ contributory copyright infringement.
27             82.   To remedy Defendants’ contributory copyright infringement, Plaintiff
28 is entitled to all of the remedies set forth above for direct copyright infringement.

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 1                                FIFTH CLAIM FOR RELIEF
 2                              (Against Defendants for Vicarious
 3                        Copyright Infringement and Counterfeiting)
 4             83.   Plaintiff re-alleges and incorporates herein by reference each and every
 5 allegation set forth above.
 6             84.   Defendants enjoy a direct financial benefit from the copyright
 7 infringement on the Shein Website. Defendants get paid a percentage of every sale
 8 of every product displayed on the site. The availability of the infringing goods also
 9 draws customers to the site, which causes Defendants to make money both through
10 the sale of the infringing goods and through the sale of all goods displayed on its
11 site.
12             85.   Defendants have the legal right to stop or limit the copyright
13 infringement on its website and the practical ability to do so. Defendants have the
14 ability and means to monitor its site for infringing designs and the right to remove
15 them.
16             86.   Plaintiff has been damaged by and Defendants have profited from their
17 vicarious copyright infringement. To remedy Defendants’ vicarious copyright
18 infringement, Bastiat is entitled to all of the remedies set forth above for direct
19 copyright infringement.
20                                   PRAYER FOR RELIEF
21             WHEREFORE, Plaintiff prays for relief against Defendants as follows:
22             1.    For preliminary and permanent injunctions enjoining and restraining
23 Defendants, their agents, employees, representatives, partners, joint venturers and/or
24 anyone acting on behalf of, or in concert with, Defendants, from:
25                   A.    designing, manufacturing, importing, shipping, delivering,
26 selling, marketing, displaying, advertising or promoting any product that
27 incorporates designs substantially similar to the Copyrights;
28                   B.    representing or implying, directly or indirectly, to retailers,

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 1 customers, distributors, licensees, or any other customers or potential customers of
 2 Defendants’ products that Defendants’ products originate with, are sponsored,
 3 endorsed, or licensed by, or are otherwise associated or affiliated with Brandy
 4 Melville;
 5             2.   For an order requiring the destruction of all of Defendants’ infringing
 6 products and all marketing, advertising, or promotional materials depicting
 7 Defendants’ infringing products;
 8             3.   For an accounting of all profits obtained by Defendants from sales of
 9 the infringing products and an order that Defendants hold all such profits in a
10 constructive trust for the benefit of Plaintiff;
11             4.   For an award to Plaintiff of all profits earned by Defendants from the
12 sale of the infringing product or their false designation of origin and unfair
13 competition;
14             5.   For compensatory damages of no less than $1 million and according to
15 proof;
16             6.   For prejudgment interest on all damages awarded by this Court;
17             7.   For reasonable attorneys’ fees and costs of suit incurred herein; and
18             8.   For such other and further relief as the Court deems just and proper.
19
20 DATED: June 23, 2025                    ELLIS GEORGE LLP
21                                            Keith J. Wesley
                                              Lori Sambol Brody
22
23
24                                         By:         /s/Keith J. Wesley
25                                               Keith J. Wesley
                                                 Attorneys for Bastiat USA, Inc.
26
27
28

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                                            COMPLAINT
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 1                                 DEMAND FOR JURY TRIAL
 2             Bastiat demands a jury trial for all issues so triable.
 3
 4 DATED: June 23, 2025                       ELLIS GEORGE LLP
 5                                               Keith J. Wesley
                                                 Lori Sambol Brody
 6
 7
 8                                            By:         /s/Keith J. Wesley
 9                                                  Keith J. Wesley
                                                    Attorneys for Bastiat USA, Inc.
10
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                                                COMPLAINT
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                EXHIBIT A
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Certificate of Registration
                   This Certificate issued under the seal of the Copyright
                   Office in accordance with title 17, United States Code,
                   attests that registration has been made for the work
                   identified below. The information on this certificate has      Registration Number
                   been made a part of the Copyright Office records.
                                                                                  VA 2-384-496
                                                                                  Effective Date of Registration:
                                                                                  December 18, 2023
                                                                                  Registration Decision Date:
                   United States Register of Copyrights and Director              February 28, 2024




   Title
                       Title of Work:    V270A


   Completion/Publication
                Year of Completion: 2023
             Date of 1st Publication: December 11, 2023
            Nation of 1st Publication: United States

   Author

                   •      Author:        YYGM SA
                  Author Created:        2-D artwork
               Work made for hire:       Yes
                       Citizen of:       Switzerland
                     Domiciled in:       Switzerland


   Copyright Claimant
               Copyright Claimant:       YYGM SA
                                         44 Via Guiseppe Motta, Lugano, Switzerland




     Rights and Permissions
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   Certification

                                                                                                             Page 1 of 2
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                       Registration #:   VA0002384496
                    Service Request #:   1-13317328733




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                EXHIBIT B
      Case 2:25-cv-05701          Document 1             Filed 06/23/25        Page 31 of 52 Page ID #:31
Certificate of Registration
                   This Certificate issued under the seal of the Copyright
                   Office in accordance with title 17, United States Code,
                   attests that registration has been made for the work
                   identified below. The information on this certificate has      Registration Number
                   been made a part of the Copyright Office records.
                                                                                  VA 2-440-491
                                                                                  Effective Date of Registration:
                                                                                  April 04, 2025
                                                                                  Registration Decision Date:
                   United States Register of Copyrights and Director              April 07, 2025




   Title
                       Title of Work:    Model with Elena Top


   Completion/Publication
                Year of Completion:      2024
             Date of 1st Publication:    July 11, 2024
            Nation of 1st Publication:   United States

   Author

                   •      Author:        Apaposh, Inc.
                   Author Created:       photograph
                Work made for hire:      Yes
                        Citizen of:      United States
                     Domiciled in:       United States


   Copyright Claimant
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                                         499 Broadway, New York, NY, 10012, United States




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                                Date:    April 04, 2025


                                                                                                              Page 1 of 2
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          Correspondence:   Yes




                                                                         Page 2 of 2
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                      Registration #:   VA0002440491
                   Service Request #:   1-14900755261




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